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                            UNITED STATES DISTRICT COURT
                                 OF MASSACHUSETTS

 Johnny Cruz, on behalf of himself and all others
similarly situated,
                                                       Case No.: 1:19-cv-11425-PBS
                       Plaintiff,

              vs.

Raytheon Company, Kelly B. Lappin, in her
capacity as Plan Administrator for the Raytheon
Company Pension Plan for Hourly Employees,
the Raytheon Company Pension Plan for Salaried
Employees, the Raytheon Non-Bargaining
Retirement Plan, the Raytheon Bargaining
Retirement Plan, and the Raytheon Retirement
Plan for Engineers & Contractors, Inc. and
Aircraft Credit Employees, and John/Jane Does
1-10,

                       Defendants.

                                                       CLASS ACTION


                    STATEMENT OF UNDISPUTED MATERIAL FACTS
       Pursuant to Local Rule 56.1, Plaintiff Johnny Cruz states that the following facts are not in

dispute:

       1.       Raytheon sponsors the Raytheon Company Pension Plan for Hourly Employees

(the “Hourly Plan”), a defined benefit pension plan subject to ERISA. ECF No. 1 (“Complaint”)

at ¶ 32; ECF No. 36 (“Answer”) at ¶ 32.

       2.       A single life annuity is pension benefit that provides the plan participant with a

series of monthly payments for the duration of the participant’s life. Needham Decl. at Ex. 1

(RTN-Cruz-00000963).




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         3.       A joint and survivor annuity is a pension benefit that provides a monthly payment

to the plan participant and the participant’s beneficiary during their joint lives and a monthly

payment in a reduced amount for the duration of the beneficiary’s life if the beneficiary outlives

the participant. Needham Decl. at Ex. 1 (RTN-Cruz-00000963); Ex. 11 (Terry Report at ¶ 27);

Ex. 10 (Serota Report at ¶¶ 18-19).

         4.       The Hourly Plan’s qualified joint and survivor annuity is a 50% joint and survivor

annuity. Needham Decl. at Ex. 2 (RTN-Cruz-00001032 at § 6.5).

         5.       Two forms of benefit are actuarially equivalent when their present values are equal

under a given set of assumptions. Needham Decl. at Ex. 11 (Terry Report at ¶ 63); Ex. 10 (Serota

Report at ¶ 22).

         6.       The calculation of an actuarially equivalent joint and survivor annuity requires a

mortality assumption for the plan participant and the beneficiary. Needham Decl. at Ex. 10 (Serota

Report at ¶ 62); Ex. 11 (Terry Report at ¶¶ 108-109).

         7.       The calculation of an actuarially equivalent joint and survivor annuity requires a

discount rate assumption to account for the time value of money. Needham Decl. at Ex. 10 (Serota

Report at ¶ 83); Ex. 11 (Terry Report at ¶ 112).

         8.       The result of the calculation of an actuarially equivalent joint and survivor annuity

is a conversion factor. Needham Decl. at Ex. 11 (Terry Report at ¶ 73); Ex. 10 (Serota Report at

¶ 56).

         9.       A conversion factor is the ratio of the present value of the participant’s single life

annuity to the present value of the participant’s joint and survivor annuity. Needham Decl. at Ex.

10 (Serota Report at ¶ 56); Ex. 11 (Terry Report at ¶ 74).




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       10.     Raytheon annually calculates the present value of its liabilities under each pension

plan that it sponsors under Generally Accepted Accounting Principles (“GAAP”) and Accounting

Standard Codification 715 (“ASC 715”). Needham Decl. at Ex. 4 (RTN-Cruz-00000380).

       11.     The results of Raytheon’s calculation of the present value of its pension liabilities

is set forth in a report prepared in accordance with ASC 715. Needham Decl. at Ex. 4 (RTN-Cruz-

00000380); Ex. 3 (RTN-Cruz-00000125).

       12.     Raytheon reviews the economic and demographic assumptions used to calculate

the present value of its pension liabilities under ASC 715 with its actuary, Mercer. Needham Decl.

at Ex. 8 (RTN-Cruz-00001634); Ex. 4 (RTN-Cruz-00000380); Ex. 6 (RTN-Cruz-00001363).

       13.     Raytheon analyzes the mortality experience of the participants in its pension plans

to calculate the present value of its pension liabilities each year. Needham Decl. at Ex. 8 (RTN-

Cruz-00001630); Ex. 6 (RTN-Cruz-00001363).

       14.     The mortality assumptions that Raytheon uses to calculate its pension liabilities in

its ASC 715 reports represent Raytheon’s “best estimate” of anticipated mortality experience.

Needham Decl. at Ex. 8 (RTN-Cruz-00001630); Ex. 9 (RTN-Cruz-00001634).

       15.     The mortality assumptions that Raytheon selects to calculate its pension liabilities

in its ASC 715 reports comply with Actuarial Standard of Practice No. 35. Needham Decl. at Ex.

8 (RTN-Cruz-00001630); Ex. 9 (RTN-Cruz-00001634).

       16.     Raytheon changed the mortality assumption used to calculate its pension liabilities

in its ASC 715 report for the year ending December 31, 2013 because it determined that its “plan

participants are living longer than under our current mortality assumption.” Needham Decl. at Ex.

8 (RTN-Cruz-00001630).




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       17.     The Society of Actuaries published the RP-2014 family of mortality tables in

October 2014. Needham Decl. at Ex. 11 (Terry Report at Appendix, ¶ 13); Ex. 21 (RPEC Report).

       18.     The Society of Actuaries published “benefits-weighted” (also called “amounts-

weighted”) and “headcount-weighted” versions of the RP-2014 family of mortality tables.

Needham Decl. at Ex. 11 (Terry Report at Appendix D, ¶ 13); Ex. 21 (RPEC Report at 4).

       19.     Raytheon used a modified version of the RP-2014’s base mortality table, projected

from the table’s base year of 2006 until 2007, called the MRP-2007, as the base mortality table for

the Hourly Plan to calculate its pension liabilities for the year ending December 31, 2014. 715 for

YE 2014; Needham Decl. at Ex. 6 (RTN-Cruz-00001634).

       20.     The MRP-2007 mortality table that Raytheon used a is a “benefits-weighted”

mortality table. Needham Decl. at Ex. 9 (RTN-Cruz-00001634).

       21.     Raytheon used a mortality improvement scale developed by its actuary, Mercer,

called the MMP-2007, to calculate the present value of its pension liabilities for the year ending

December 31, 2014. Id.

       22.     Raytheon annually selects a discount rate to calculate the present value of its

liabilities for each of its pension plans. Needham Decl. at Ex. 6 (RTN-Cruz-00001363).

       23.     The discount rate that Raytheon selects for each pension plan is calculated using a

theoretical bond portfolio that matches Raytheon’s pension liability duration for each pension plan.

Id.

       24.     The discount rate calculated using the theoretical bond portfolio for the Hourly Plan

as of December 31, 2014 was 4.178%. Id.; Needham Decl. at Ex. 7 (RTN-Cruz-00001832).

       25.     In accordance with its policy, Raytheon then rounded the results generated using

the bond model for the Hourly Plan to 4.20%. Needham Decl. at Ex. 6 (RTN-Cruz-00001363).



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       26.     In accordance with its policy, Raytheon then grouped the Hourly Plan together with

two of its other pension plans and used a discount rate of 4.15% for the Hourly Plan in its ASC

715 report for the year ending December 31, 2014. Needham Decl. at Ex. 6 (RTN-Cruz-

00001363); Ex. 4 (RTN-Cruz-00000380).

       27.     Raytheon’s actuary, Mercer, certified that the mortality and discount rate

assumptions in Raytheon’s ASC 715 report for the year ending 2014 complied with ASOP 35 and

ASOP 27. Needham Decl. at Ex. 4 (RTN-Cruz-00000380, 402).

       28.     Raytheon’s Senior Director of Compensation & Benefits and Accounting Analysis

certified that the “[a]ssumptions and Methods reflected in [the 715 Report] have been reviewed

and confirmed by Raytheon.” Needham Decl. at Ex. 4 (RTN-Cruz-00000380).

       29.     Raytheon’s Controller and Chief Accounting Officer confirmed that he had

reviewed all information in the 715 Report with the “Director, Compensation & Benefits Finance

and Accounting Analysis, and all information contained within has been approved.” Id.

       30.     Cruz retired from Raytheon in 2015 at age 55. Complaint at ¶ 14; Answer at ¶ 14.

       31.     Cruz earned a pension in the Hourly Plan when he worked at Raytheon. Complaint

at ¶ 37; Answer at ¶ 37.

       32.     Under the Hourly Plan, participants earned a pension in the form of a single life

annuity beginning at age 65. Needham Decl. at Ex. 2 (RTN-Cruz-00001030 at § 6.1).

       33.     Participants in the Hourly Plan can start receiving their pension as early as age 55.

Needham Decl. at Ex. 2 (RTN-Cruz-00001029 at § 6.1).

       34.     When a participant retires before age 65, the SLA they earned will be reduced

according to their age, with “[i]nterpolations. . . made for months between stated ages.” Needham

Decl. at Ex. 2 (RTN-Cruz-00001031 at § 6.2).



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        35.     Raytheon uses a conversion factor of .90 to convert participants’ single life

annuities to 50% joint and survivor annuities. Needham Decl. at Ex. 2 (RTN-Cruz-00001032).

        36.     Raytheon increases or decreases the .90 conversion factor for each month that the

beneficiary is older or younger than the participant. Needham Decl. at Ex. 2 (RTN-Cruz-

00001032-33).

        37.     When Cruz retired on November 1, 2015, he had earned an SLA of $1,135.34 per

month under the Hourly Plan. Needham Decl. at Ex. 2 (RTN-Cruz-00000967).

        38.     Cruz selected the Hourly Plan’s 50% joint and survivor annuity, with his wife as

the beneficiary. Complaint at ¶ 14; Answer at ¶ 14.

        39.     Raytheon does not know the actuarial assumptions that were used to establish the

.90 conversion factor for the Hourly Plan’s 50% joint and survivor annuity. Needham Decl. at Ex.

10 (Serota Report at ¶ 12); Ex. 13 (Terry Tran. at 99-100).

        40.     The conversion factor that Raytheon used to calculate Cruz’s benefit is .89958, with

the age of Cruz’s wife accounting for the decrease from .90. Needham Decl. at Ex. 10 (Serota

Report at ¶ 11); Ex. 11 (Terry Report at ¶ 27, n. 2).

        41.     To determine whether Cruz received an actuarially equivalent benefit, Cruz’s

expert witness, Mitchell I. Serota (“Serota”) compared the .89958 conversion factor that Raytheon

used to calculate Cruz’s benefit to the conversion factors generated by using the mortality

assumptions that Raytheon selected for the Hourly Plan in its ASC 715 report for the year ending

December 31, 2014, the year before Cruz retired. Needham Decl. at Ex. 10 (Serota Report at ¶

111).

        42.     Serota’s only modification of the mortality assumption in Raytheon’s ASC 715

report for the Hourly Plan was to use a 50/50 male/female gender blend based on his assumption



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that retirees were 50% male to comply with the legal requirement that plans use a unisex table.

Needham Decl. at Ex. 10 (Serota Report at ¶ 104).

       43.     To select a discount rate in his calculations for Cruz, Serota started with the

discount rates that Raytheon chose to calculate the present value of its liabilities under the Hourly

Plan in its ASC 715 reports, compared those rates to common, market-based indices used in the

pension industry and then selected an index, the “FTSE Above Mean Index,” that best matched

that rates that Raytheon had chosen. Needham Decl. at Ex. 10 (Serota Report at ¶¶ 86-97).

       44.     The result of Serota’s calculation for Cruz was a conversion factor of .938847.

Needham Decl. at Ex. 10 (Serota Report at ¶ 109).

       45.     Serota also calculated the conversion factors using alternative discount rates: (a)

the discount rates set by the Treasury Department for calculating the present value of lump sum

benefits; and (b) the exact discount rate that Raytheon used for the Hourly Plan in its ASC 715

report before Cruz retired. Needham Decl. at Ex. 10 (Serota Report at ¶ 111).

       46.     Serota also calculated the conversion factors generated using the mortality table set

by the Treasury Department for calculating the present value of lump sum benefits. Id.

       47.     The conversion factors generated using Serota’s alternative assumptions were each

higher than the .89958 conversion factor that Raytheon used to calculate Cruz’s benefit. Needham

Decl. at Ex. 10 (Serota Report at ¶¶ 109-111).




Dated: September 4, 2020
                                                     Respectfully submitted,

                                                      /s/ Douglas P. Needham
                                                     IZARD, KINDALL & RAABE LLP
                                                     Douglas P. Needham

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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed with the

Court and electronically served through the CM-ECF system which will send a notification of such

filing to all counsel of record.

Dated: September 16, 2020

                                                    /s/ Douglas P. Needham
                                                      Douglas P. Needham




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